               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:12-cr-00020-MR-DLH


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
           vs.                  )               ORDER
                                )
(5) KEITH ARTHUR VINSON,        )
                                )
                   Defendant.   )
_______________________________ )

       THIS MATTER is before the Court on Defendant Keith Vinson’s

Motion to Sever Offenses [Doc. 120].

I.     PROCEDURAL BACKGROUND

       On April 4, 2012, the Defendant Keith Arthur Vinson (Vinson), along

with several co-defendants, was charged in a Bill of Indictment with various

violations of federal law, including conspiracy, bank and wire fraud, and

money laundering. [Doc. 1]. A Superseding Bill of Indictment was filed

against Vinson and his co-defendants on December 5, 2012. [Doc. 100].

       On January 14, 2013, Vinson filed the present Motion, seeking to

sever the counts from the Superseding Bill of Indictment related to the

Queens Gap Development.          [Doc. 120].    The Government opposes

Vinson’s Motion. [Doc. 146].


     Case 1:12-cr-00020-MR-SCR   Document 181   Filed 04/26/13   Page 1 of 4
II.     ANALYSIS

        Rule 8 of the Federal Rules of Criminal Procedure provides, in

pertinent part, as follows:

             The indictment or information may charge a
             defendant in separate counts with 2 or more
             offenses if the offenses charged -- whether felonies
             or misdemeanors or both -- are of the same or
             similar character, or are based on the same act or
             transaction, or are connected with or constitute
             parts of a common scheme or plan.

Fed. R. Crim. P. 8(a).        The Court may sever the charged offenses,

however, if the joinder of such offenses “appears to prejudice” a party.

Fed. R. Crim. P. 14(a).

        The Fourth Circuit has recognized that “[w]here offenses are properly

joined under Rule 8(a), severance of the offenses is rare.” United States v.

Hornsby, 666 F.3d 296, 309 (4th Cir. 2012). The Court “should grant a

severance under Rule 14 only if there is a serious risk that a joint trial

would . . . prevent the jury from making a reliable judgment about guilt or

innocence.” United States v. Cardwell, 433 F.3d 378, 387 (4th Cir. 2005)

(quoting Zafiro v. United States, 506 U.S. 534, 539, 113 S.Ct. 933, 122

L.Ed.2d 317 (1993). Accordingly, a defendant seeking severance must

make “a strong showing of prejudice” resulting from the joinder of the




                                       2

      Case 1:12-cr-00020-MR-SCR   Document 181   Filed 04/26/13   Page 2 of 4
offenses.    United States v. Branch, 537 F.3d 328, 341 (4th Cir. 2008)

(quoting United States v. Goldman, 750 F.2d 1221, 1225 (4th Cir. 1984)).

        In the present case, the Government has alleged that the scheme to

defraud Queens Gap and DM, with the cooperation of a bank insider, was

part of the common scheme or plan to secure additional funding for the

Seven Falls project. Specifically, the Government alleges that the stolen

funds were used to the benefit of Seven Falls and that the lots were

pledged as security for a complex series of loans that constitute part of the

factual basis for Counts Thirty-Four, Thirty-Seven, and Thirty-Nine through

Forty. At the very least, these transactions and events bear a “logical

relationship” to one another and therefore are properly joined under Rule

8(a). See Cardwell, 433 F.3d at 385 (noting that a “logical relationship”

exists between offenses “when consideration of discrete counts against the

defendant paints an incomplete picture of the defendant’s criminal

enterprise”).

        In arguing for severance of the Queens Gap counts, Vinson contends

that the inclusion of these counts creates “the unacceptable risk that the

jury would conclude that ‘where there’s smoke there is fire.’” [Doc. 120 at

4].    Such argument, however, fails to establish any prejudice to the




                                       3

      Case 1:12-cr-00020-MR-SCR   Document 181   Filed 04/26/13   Page 3 of 4
Defendant resulting from the inclusion of these counts. Accordingly, the

Defendant’s motion for severance of these counts is denied.

     IT IS, THEREFORE, ORDERED that Defendant Keith Vinson’s

Motion to Sever Offenses [Doc. 120] is DENIED.

     IT IS SO ORDERED.

                               Signed: April 26, 2013




                                       4

   Case 1:12-cr-00020-MR-SCR   Document 181             Filed 04/26/13   Page 4 of 4
